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     Steven Daniels
     SHANE FOWLER v. NORFOLK SOUTHERN RAILWAY



                                                                         Page 1
 1                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
 2                           ATLANTA DIVISION
 3

 4

 5       SHANE FOWLER and KEVIN TAYLOR,
 6             Plaintiff,
 7

 8

 9
         vs.                                      CASE NUMBER
10                                              1:21-CV-3303-MLB
11
12
13
         NORFOLK SOUTHERN RAILWAY COMPANY, et al,
14
               Defendant.
15
         ---- ----------------- ------/
16
17
18                    The sworn statement of STEVEN DANIELS, a
19       witness in the above-entitled cause, taken
20       pursuant to Notice and agreement, before Naomi
21       McCracken, Court Reporter and Notary Public, at
22       the Offices of Coastal Court Reporting, 100 Bull
23       Street, Savannah, Georgia, on the 12th day of
24      April 2022, commencing at or about the hour of
25       10:16 a.m.


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 1                                 STEVEN DANIELS,

 2       having been produced and first duly sworn as a

 3       witness, testified as follows:

 4                              DIRECT EXAMINATION

 5       BY MR. TUCKER:

 6              Q      Tell us your full name, please, sir.

 7              A      Steven Daniels.            Do you need my

 8        birthday?

 9              Q      No.     Just what is your middle initial?

10              A      D.

11              Q      How old -- and you go by Steve?

12              A      Yeah.      Steve.        Steven.

13              Q      Steve, how old are you?

14              A      Fifty-one.

15              Q      And where do you live?             Just the city.

16              A      Rincon, Georgia.

17              Q      And you realize we're here to take your

18        sworn statement in the matter of Shane Fowler

19        and Kelvin Taylor's claims against Norfolk

20        Southern arising out of a violation of the

21        Whistleblower Law?

22              A      Yes, sir.

23              Q      Okay.     Under oath and penalty of

24        perjury?

25              A      Yes, sir.


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 1              Q      Okay.     And your name has come up in

 2        this case and I want to ask you some questions

 3        about your knowledge of it and involvement in
 4        the matters that Kelvin and Shane have raised.

 5        Let's go over a little bit about you, generally.

 6                     Where are you from,      originally?
 7              A      Augusta, Georgia.

 8              Q      And do I understand your father is a

 9        retired sergeant major in the Army?

10              A      Yes.
11              Q      All right.       And did you move to Rincon,

12        Georgia to -- when you got a job with Norfolk
13        Southern?
14              A      Yes, sir.

15              Q      When did you go to work for Norfolk
16        Southern?
17              A      October of 2006.
18              Q      In '06?

19              A      Yes.
20              Q      In what department?
21              A      Mechanical.
22              Q      And was that here in Savannah?
23              A      Yes.
24              Q      And were you specifically hired in the
25        carman craft?


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 1              A      Yes.

 2              Q      And did you go through a student

 3        apprentice program and become a journeyman?

 4              A      No, no.      They send you to school when

 5        you get hired.

 6              Q      Okay.     And when did you make

 7        journeyman?

 8              A      I came out of my time in 2008.

 9              Q      Okay.     As a journeyman carman?

10              A      Yeah.

11              Q      Okay.     And you've been working there as

12        that --

13              A      Ever since, yes.

14              Q      Okay.     Now you currently off right now

15        with a hip problem; correct?

16              A      Yes, sir.

17              Q      Do I understand you're going to have

18        surgery on it?
19              A      Yeah.     Soon.      I'm going through

20        physical therapy right now.

21              Q      Okay.     How many years did you have with

22        the railroad?

23              A      This year makes 16.

24              Q      Okay.     And is that -- all of your work

25        done at Dillard yard?


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 1              A      Yes.

 2              Q      And the surrounding area?

 3              A      Yes.

 4              Q      Does that include the Mason yard, the

 5        pig yard?

 6              A      Yes.

 7              Q      Okay.     What is the Mason yard?

 8              A       It's intermodal yard where the ships

 9        come in. It's a container port.

10              Q      Containers offloaded, containers are

11        loaded?
12              A      Yeah, yeah, yeah.

13              Q      Some or all or both?

14              A      Yes.     Loaded, offloaded.

15              Q      Okay.      Did -- and as a carman, did you

16             did you work           did you repair cars as well

17        as inspect trains?

18              A      Yes.

19              Q      Do you know Shane Fowler and Kelvin

20        Taylor?

21              A      Yes.

22              Q      Are they social friends of yours?

23              A      Yes.

24              Q      Okay.      The fact that they are social

25         friends of yours, would that cause you tell


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 1        anything other than the truth about what I'm

 2        fixing to ask you?

 3              A      No.

 4              Q      All right.        Do you know Lewis Ware?

 5              A      Yes.

 6              Q      And how do you know Lewis Ware?

 7              A      When I first met him in the -- before

 8        he came a mechanical supervisor.            He was a

 9        training -- a training leader for Norfolk

10        Southern.

11              Q      Was that out of Macon?

12              A      Yes, out of Macon.

13              Q      All right.       And in that capacity, did

14        he come to -- down from Macon to Savannah?

15              A      Every six -- probably every six months

16        to train.

17              Q      Did you have any problems with him

18        then?

19              A      Not at all.

20              Q      All right.       Who were the supervisors

21        for whom you worked at -- and when I say

22        "Supervisor," let me go over a couple of things.

23        As a carman in Savannah, how many -- you were --

24        carman did the work and then there were
25        supervisor personnel who --


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 1              A      I was under three supervisors before

 2        Lewis came.
 3              Q      That's what I -- but there's only been

 4        one supervisor level official at Dillard yard in

 5        the mechanical department, there's not one every

 6        shift?
 7              A      No.     There's only one over everything.

 8              Q      Okay.      So -- and are they at the what's

 9        called the senior general foreman level?

10              A      Yes.     Yes.
11              Q      Okay.     And that's what Lewis was the
12        last time you saw him and all the time we're

13        going to talk about today?
14              A      Yes.
15              Q      All right.       Who were the others?
16              A      Mario Lembo, Sam Goodman and
17        Jonathan -- what's Jonathan's last name?

18              Q      Hensen.
19              A      Hensen, yes.

20              Q      All right.       Are you familiar with

21        were you aware of the fact that Mr. Fowler and
22        Mr. Taylor had made a hotline complaint to the
23        Ethics and Compliance Department of Norfolk
24        Southern about Mr. Ware?
25              A      Yes.


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 1              Q      What was your understanding of what
 2        their complaints were about, if you know?

 3              A      Just about him -- him constantly, you
 4        know, watching them.            And every time they go in
 5        the yard doing work.            I just -- when they talked

 6        to me about it, they said that he followed them
 7        over to Mason yard.            And, to my knowledge, which
 8        is true, is that the work they were doing, all

 9        they had to do and all they was ever instructed
10        to do, was let them know that we was in the area
11        in order to perform our duties.             But he got them
12        for a blue flag violation, which was               I don't
13        understand how that happened.
14              Q      Do you know other people that had done
15        that job the same way?
16              A      Yes.     A lot of other people since we've
17        been there, and that has never happened.
18              Q      All right.       Was Ware vindictive?
19              A      Very.
20              Q      Were you interviewed by Diane Barnett
21        about that?
22              A      Yes.
23              Q      What did you tell her about Mr. Ware?
24              A      Just that he's           you know, he likes to
25        threaten.       He likes to, you know,       let you know


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 1        that he's the supervisor.             It's always -- you
 2        know, it's just feel like he's constantly got a
 3        foot on your neck.
 4              Q      Did he lead by example or intimidation?

 5              A      No, no.      Intimidation.
 6              Q      You learned a little something about
 7        leadership watching your dad, didn't you?
 8              A      Absolutely.
 9              Q      Would your dad have led like Lewis
10        Ware?
11              A      Not at all.
12              Q      What are bad order tags?
13              A      They're orange tags that we have to put
14        on the side of the car when something's wrong
15        with the car in order for transportation to
16        know, in order, you know, to take them out so
17        they can't be pulling on the train when the
18        train go out.
19              Q      All right.        In addition to their
20        complaint about their treatment at Mason yard,
21        they complained about Ware pulling bad order
22        tags and about making them do more work than
23        other people and they
24              A      They did a lot.
25              Q      Was that your observation


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 1               A     Yeah, yeah, yeah.

 2               Q     -- that he was retaliating against

 3        Fowler and Taylor?

 4               A     Yes.     It's        no, we was -- a lot of us

 5        actually seen him pull a bad -- bad order tag

 6        off.
 7               Q     We're going to go back over that in

 8        just a minute.

 9               A     Yeah.

10               Q     There was also some problems with a

11        couple of cars which involved a cross key.             And

12        I'll get over that -- go over that in just a

13        minute.
14                     And initial, about two cars which take

15        -- which Ware and a transportation guy evidently

16        fixed?
17                     Were you aware of that?

18               A     Yes,    I was aware of it, and I was

19        surprised because transportation shouldn't be

20        fixing -- shouldn't be doing our work, shouldn't

21        be crossing over to our craft.

22               Q     And plus, is it more important even if

23        they didn't blue flag the traps?

24               A     Yes.

25               Q     Now, you got a blue flag violation on


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 1        your record, do you not?
 2              A      Yes,    I do.

 3              Q      Okay.     That           is that,   in any way,

 4        like what happened to Fowler and Taylor at Mason

 5        yard?
 6              A      Somewhat, yes, yes.            Not a blue flag in
 7        a trap, but -- for instance, but in our yard,

 8        the flags are there.            You don't have to use

 9        portable flags,        they are automatically there,
10        so ...
11              Q      Is the
12              A      But, I mean,       it's a little different
13        from going over in the Mason yard.
14              Q      And the movement protection that they
15        thought they were using, you don't need to use
16        that --

17              A      No, you don't.
18              Q          at Dillard yard because the flags
19        are there?
20              A      Yeah, they're there.
21              Q      Okay.     All right.        Let's go over real
22        quick, what -- the railroad -- there's certain

23        rules that apply to the railroad from the
24        Federal Railroad Administration about
25        requirements on cars.


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 1                     And these are safety rules and laws,
 2        right?

 3              A      Yes.
 4              Q      And there are car inspectors, like

 5        yourself, that inspect these cars, and if they

 6        find they have to do a certain kind of
 7        inspection, and that's an important safety
 8        function of the car -- the carman's craft, isn't
 9        it?
10              A      Yes.
11              Q      And that's what you're trying to do?
12              A      Yes.
13              Q      All right.        If you find a bad order on
14        a car, if it's in a train, can the car be fixed
15        if it's still -- can the car, under certain
16        circumstances, be fixed while it's still in the
17        train?
18              A      Yes, it can be fixed.       And most of the
19        time if there's a car that's fixable,           then we'll

20        fix it before it leaves so it can go.            But if
21        it's not fixable,         you have to bad order.     You
22        have to call the tower to let them know.
23              Q      You have to pull the car out of the
24        train?
25              A      Yeah.     They have to pull -- when they


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 1        switch it out, they have to switch it out before

 2        the train leaves.

 3              Q      But all this is done under blue flag

 4        protection?

 5              A      Yes,    sir.

 6              Q      Including the repair?

 7              A      Yes.

 8              Q      All right.        Now, when that's done,   if

 9        it has to be pulled out, can that cause train

10        delays?
11              A      It can.

12              Q      And is that the problem that the -- is

13        the railroad trying to not do repairs in order

14        to save train delays?

15              A      I think so.

16              Q      Was your that your observation?

17              A      Yeah.     They want to get the train out.

18        You know, it's all about, you know, the

19        customer, trying to get it to the customer at

20        any cost.
21              Q      It's also about their evaluations, too,

22        it is not?

23              A      Yes,    sir.

24              Q      Have you -- has Ware ever told you to

25        stop delaying trains and quit bad ordering so


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 1        many cars?

 2              A      Absolutely.

 3              Q      Does he tell you that his job's on the

 4        line?

 5              A      He's never said that his job is on the

 6        line, but he's always made it seems like it was

 7        a definite problem for us bad ordering, it's

 8        going to become a problem.            One time when he was

 9        talking about bad orders that -- we all, as a

10        group, didn't bad order cars for months because

11        it just felt intimidating.

12              Q      That's not the safe way to run a

13        railroad, is it?

14              A      Not at all because our job as a

15        mechanical inspectors are to make sure that when

16        that equipment leaves the yard, it's in the best

17        shape it is to go up that road.

18              Q      Okay.     There's a lot of hazardous

19        materials come in and out of Dillard yard?

20              A      Yes, sir.

21              Q      Including things like chlorine and that

22        sort of thing?

23              A      Yes, sir.

24              Q      All right.       Now, the bad order tag is a

25        physical tag that if you find a bad order, you


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 1        attach it on each side of the car?
 2               A     Yes.     You put the date, you put the
 3        location, you put the car number, and then where
 4        it's bad ordered at and what's the bad order
 5        for.
 6               Q     Okay.     And then were you under
 7        instructions of -- and the other carman that if
 8        you had a bad order, that you were to call Lewis
 9        Ware?
10               A     Immediately.
11               Q     And why?
12               A     Immediately.
13               Q     Why?
14               A     I don't understand why, Mr. Tucker, but
15        it was to a point where he just didn't want bad
16        orders and he put it out, if you going to bad
17        order, call me first and let me know.
18               Q     Did he ever pull bad a order tag off of
19        one of your cars?
20               A     Oh, several.
21               Q     Before you had your interview with
22        Diane Barnett?
23               A     Oh, several.        Yes.
24               Q     Did you tell Diane Barnett about that?
25               A     She knows.


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 1              Q      I mean, you told her about it?

 2              A      Yeah, yeah.        She knows.

 3              Q      Okay.     Have you heard that Ware had a

 4        history of removing bad orders when he was in

 5        Macon as a mechanical supervisor?

 6              A      Yep.
 7              Q      How did you hear about it?         People in

 8        Macon?
 9              A      Yeah.     People in Macon.      There was a

10        guy that used to work with us named Dustin --

11        named Dustin.         He told us that had happened up
12        there a lot with him when he was up there.

13              Q      Okay.     Are you familiar with BKTY cars?

14              A      BKTY.     Yeah.     Oh, yeah.
15              Q      They have cross keys and swing gates on

16        the couplers?
17              A      Yes.
18              Q      Are you familiar with the situation
19        that arose where Mr. Fowler and Mr. Taylor

20        thought that there were two cars that had a
21        problem and Ware ordered them to remove the bad
22        order tags?
23              A      Over in R3.
24              Q      Okay.     You're familiar with that?
25              A      Yes.


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 1              Q      Did you get called or did you happen to
 2        be able to look at those cars?
 3              A      I wasn't on duty at the time.
 4              Q      Okay.      So you didn't have a chance to
 5        look at them?
 6              A      Huh-uh.      I just heard what happened,
 7        that when I got there the next, I talked to
 8        Taylor and them and they said that,
 9        mysteriously, those cars were being pulled, and
10        said that Lewis Ware said they was fixed already
11        so they could go.
12              Q      All right.        Is there a difference
13        between a cross key and a swing gate?
14              A      Well, there's a cross key in most all
15        the cars.       But you have a cross key and you have
16        a cross key retainer that goes on certain -- on
17        certain cross keys, and then you got cross keys
18        that go in that sits in, like in a cushion unit,
19        and then you got the swing gates on the outside
20        that protects that cross key from moving.
21              Q      Okay.     Were you aware that Shane and
22        Kelvin's problem was with the -- with that swing
23        gate?
24              A      It probably was broke.
25             Q       Yeah.     Not actually the cross key.


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 1              A      Yeah.     The problem -- the swing gate

 2        was probably bent or either broke, and when it's

 3        like that and very loose, you have to change it.
 4        And then a lot of times when it's like that in
 5        the train and the cushion unit is collapsed, you

 6        can't get in there to change it so it has to be
 7        put in a bad order in order to be changed at the
 8        mechanical shop.
 9              Q      Is the broken -- do you remember --

10        it's my understanding that there was no way that
11        the computer system didn't have a write-up for
12        the swing gate, and the closest way to describe
13        the problem would be a cross key problem?
14              A      Yeah.
15              Q      Is that right?
16              A      That's part of the draft system.
17              Q      All right.        So you could write it up
18        and it could be a problem with the swing gate,
19        but the cross key would technically still be
20        okay because it was not broken?
21              A      Yes.
22              Q      And if that cross -- if that swing gate
23        failed,     the key could come out even though it
24        was       not anything wrong with it?
25              A      Yeah.     Eventually, with the vibration


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 1        of the train moving, i t ' l l move out a little bit
 2        by little bit.          It can come out.    Sometimes it
 3        don't come out, but eventually, the vibration
 4        will make that key move that retainer and that
 5        cross key move.
 6              Q      And if the swing gate were broken
 7        enough to where the cross key can come out, but
 8        it hadn't yet, then everybody is just getting
 9        lucky so far; is that - -
10              A      Yeah.
11              Q      -- what it is?

12              A      Because if that          because if that
13        cross key comes out, that'd cause a real
14        problem.       That coupler comes out.
15              Q      Then when it does, if it's in a
16        train
17              A      It separates the train --
18              Q      It separates the train, puts it in all
19        emergency and you could have derailments
20              A      Yes.
21              Q      -- and wrecks and everything else,
22        right?
23              A      Yes.     That's a job problem, there.
24              Q      Right.      If you saw the swing gate
25        broken like that, would a report, in your


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 1        opinion as a journeyman carman, experienced
 2        employee, would that be a good-faith report of a

 3        safety problem?
 4              A      Yes.

 5              Q      Okay.     You think that management should

 6        threaten you for trying to report that and get

 7        it fixed?
 8              A      Yeah, they shouldn't, but they put

 9        pressure on us.
10              Q      All right?
11              A      You know?

12              Q      Were you familiar in -- where they blue

13        flagged -- excuse me -- with a situation which
14        developed in September of 2018 when Mr. Fowler

15        and Mr. Taylor, on their shift, had blue flagged
16        two cars and a train that one -- at least one of
17        which was later repaired by Lewis Ware and a

18        transportation department manager?
19             A       Yes.
20             Q       How did you hear about it?
21             A       From Shane and Kelvin Taylor.

22             Q      Were you working first shift then?

23             A       No.     I was -- what shift was I on then?

24             Q      Were they working second
25             A       Yeah.


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 1               Q      -- and you were working third?

 2               A      Yeah, yeah.        They was on second shift

 3         then.
 4               Q      Okay.     And you were on third?

 5               A      I was on third with

 6               Q      Who were you working with?

 7               A      -- Shane -- With Jared Blocker.

 8               Q      Jared Blocker?

 9               A      Yes.
10               Q      Okay.     Did you -- did Diane Barnett ask

11         you about that situation?

12               A      No, she didn't ask about that

13         situation.
14               Q      But you knew about it?

15               A      Yeah,    I knew about it.     I knew about it

16         because they say he ran those cars.

17               Q      All right.        Were you aware that he

18         had       Ware and the transportation --

19               A      Yeah.     They so-called repaired it

20         themselves.
21               Q      Yeah.     With no blue flag?

22               A      Yeah.     That's what shocked me.

23               Q      Well, that's a blue flag violation in
24         and of itself, isn't it?
25               A      Yeah.     Automatically.     And if whoever


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 1        was with him in transportation repaired that

 2        car, that was illegal.

 3              Q      All right.

 4              A      He shouldn't of.

 5              Q      Because he's not qualified to do it?

 6              A      No.     He's not         he's not qualified to

 7        step over to our craft to even perform that job.

 8              Q      Okay.     Would you agree that Ware had

 9        harassed and threatened and attempted to

10        intimidate employees about making -- putting bad

11        order tags on actual bad orders?

12              A      Yep.     And he even got to the point

13        where,    "You bad order it, you fix it."

14              Q      Was that a form of retaliation?

15              A      Yeah.     To me,    it is.

16              Q      Did he do it to you?

17              A      Oh, yes.

18              Q      Before all this?

19              A      Several times before.

20              Q      All right.       Okay.    Did it appear to you

21        that Ware gave Fowler and Taylor more nitpicky

22        kind of duties appearing as if he were

23        retaliating against them because they were

24        trying to do their job right?

25              A      Yes, sir.


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 1              Q      On your observation, were Fowler and

 2        Taylor good, well-qualified carmen?

 3              A      Oh, yeah.       Our whole crew is good.

 4              Q      Were you good?

 5              A      Yes.     Yeah, yeah.

 6              Q      Okay.
 7              A      Yeah.      It's the only job I've ever

 8        loved.
 9              Q      In your blue flag discipline that's

10        listed on your career service report, that

11        didn't involve the use of the movement

12        protection rules, did it?
13              A      No.
14              Q      So it's not anywhere close to the

15        swing, is it?
16              A      No.     That was just me taking a
17        shortcut.
18              Q      And you actually did it?

19              A      Yes.
20              Q      Okay.     And you shouldn't have done it?
21              A      No,    I shouldn't have.     I shouldn't

22        have.
23              Q      Were you trying to help them get their

24        train out?
25              A      Yeah, yeah.        I was -- yeah, doing


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 1         something, trying to take a shortcut, but ...

 2                      MR. TUCKER:        All right.      We'll

 3             mark this as Number 1.

 4                           (Whereupon,         Plaintiff's Exhibit

 5                          Number 1 was marked for

 6                          identification.)

 7       BY MR. TUCKER:

 8              Q       That was printed out by Kelvin Taylor.

 9                      Exhibit 1, are you familiar with that?

10                      I'm not sick.            This pollen is just

11         killing me.

12              A       Yeah.

13              Q       Do you remember that?

14              A       Yeah.     He was right.        We were a great

15         team.

16              Q       Was it because of his leadership or in

17         spite of it?

18              A       In spite of it.

19              Q       But that confirms the same kind of

20         thing about train delays are the very -- most

21         important thing?

22              A       Yes.

23              Q       All right.        Now, have you ever been

24         told by Lewis Ware to carry a cell phone --

25              A       In the yard.


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 1              Q            in the yard, outside the truck?

 2              A      Yep.     Keep it on my person.

 3              Q      Okay.     Was it your understanding that

 4        that was a wrong or right?

 5              A      That's wrong.

 6              Q      Okay.     Why did he do it?

 7              A      He does it to keep up with us, that's

 8        why he does it.

 9              Q      Okay.

10              A      To make sure that he can contact us at

11        all times no matter what you're doing.

12              Q      Did you do it?

13              A      Yeah.     Several times.

14              Q      Okay.

15              A      Because if you didn't do it, and he was

16        trying to get in contact with you and he

17        couldn't, he would call the tower and the tower

18        would just call you over and over and over

19        again.      "This is Lewis Ware, call when me you

20        get a chance," and that was just constantly.

21              Q      That's over the radio?

22              A      Yes.     Constantly.

23              Q      But if Lewis called you over the cell

24        phone,    then that wouldn't be recorded, would it?

25              A      No.


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 1              Q      The radio would, but the cell phone

 2        would not?
 3              A      Yeah.     The radio would be recorded.
 4        All radio communications are recorded.

 5              Q      Would the cell phone conversation be

 6        about things he wouldn't want anybody to know he
 7        was saying?
 8              A      Probably.      Most of the time.

 9              Q      Like run things, no bad order, and

10        such?
11              A      Yeah.     Yeah.    How it look, what's wrong
12        with it, you know, you think we can run it?              It
13        was about trying to get that train out like it's
14        supposed to be.
15              Q      Did it appear to you to be more
16        important to get the train out of the mechanical
17        department's
18             A       It appeared to be but
19             Q           time than safety?
20             A       Yeah.     I wasn't worried about the time
21        part.
22       I was worried about the safety part because if
23      and when that train go out and something is
24      wrong with it, it's going to fall back on me.
25       If it gets up that road and it goes into


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 1       emergency because of something that I didn't do
 2       or something I've missed, then it's going to
 3       fall on me and I'm going to have to go and chase
 4       that train.         And then it's going to be my job,
 5       it ain't going to be his.
 6              Q      Have you ever known Lewis Ware to be
 7        dishonest?
 8              A      Of course.        Of course.
 9              Q      All right.        You got a start for
10        violating a blue flag and working with cell
11        phone within 4 feet of the track.
12                     Do you remember that?
13              A      This is with Jonathan.
14              Q      That was?
15              A      Yeah.     That was with Jonathan, yes.
16              Q      All right.        Had Hensen told you to
17        carry the cell phone in the yard?
18              A      No.     He never tell us to carry no cell
19        phone.
20              Q      But after he left --
21              A      Oh, it becomes a stickler to make sure
22        that -- Lewis made sure that he got the cell
23        phone and he made sure that we was always in
24        communication with him with that cell phone.
25              Q      Okay.


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 1              A      There was only one cell phone there so
 2        every shift someone had to have that cell phone.
 3              Q      That blue flag incident mentioned in
 4        that start, which I'll mark Number 2, that
 5        didn't have anything to do with the movement
 6        protection rules
 7              A      No.
 8              Q            that we're going talk about in a
 9        minute, did it?
10              A      No, it didn't.
11                           (Whereupon, Plaintiff's Exhibit
12                           Number 2 was marked for
13                           identification.)
14                     MR. TUCKER:        And I'll make Number
15            3 your career cert record.
16                     THE WITNESS:        Yeah.
17                           (Whereupon, Plaintiff's Exhibit
18                           Number 3 was marked for
19                           identification.)
20       BY MR. TUCKER:
21              Q      You've seen that?
22              A      Yeah, I've seen it.
23              Q      All right.       Now, that looks like much
24        younger Steve Daniels; is that right?
25              A      Yeah.     That looks like one.     That's


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 1        probably a picture when I first got there.              It

 2        might be.       I don't know.

 3              Q      Well, you still got your hair.

 4              A      Yeah.      I've got a lot of gray, too.

 5              Q      They can turn gray but not loose.

 6              A      Yeah.

 7              Q      All right.        So there was one on here

 8        that I saw on March 11 of 2011,           failure to

 9        protect your assignment and verbal

10        insubordination.

11              A      Yeah.
12              Q      What was that about?

13              A      Well, failure protect your assignment

14        is like -- if all three of us are working

15        vacation relief, which other people go on

16        vacation, we have to fill in their jobs when

17        they leave.        If you call in saying that you

18        can't work because got to do something or you

19        got an emergency or whatever, they'll say you're

20        not protecting the job.

21                     So that's what they said that I was

22        doing.      I had a child that had just been born,

23        she was almost one, and I told my supervisor
24        that I couldn't make it because my wife got
25        called in.       She's a registered nurse.       So I had


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 1        to stay home and keep the baby.           Which they had
 2        other vacation relieve which could have worked
 3        it.
 4                     So when I told him I can't work, he
 5        asked me a question I've always been stunned by.
 6        He said,     "Whose job is more important, yours or
 7        your wife's?"         So I paused for a minute.      And so
 8        I went back and I asked him the same question,
 9        "Whose job more important, yours or your
10        wife's?"       He hung the phone up in my face.         He
11        was at Dillard yard that next morning.
12              Q      Who was that?
13              A      David Walker.
14              Q      Out of Macon?
15              A      Yeah.     He was there the next morning
16        and he wrote me up for insubordination,           failure
17        to protect my job.
18              Q      Well, you didn't think you did wrong,
19        did you?
20              A      I didn't.
21              Q      Why did you sign it?
22              A      I just -- I don't know.       I'm not very
23        confrontational with a lot of stuff.            It's just
24
25              Q      Well, if you'd have gone to a formal


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 1        investigation, they might've fired you, right?

 2              A      Yep.     That's why I never went to a

 3        formal investigation because to me, it's more

 4        intimidating.

 5              Q      Is that -- the way they treated you, is

 6        that any way to treat somebody?

 7              A      No.

 8              Q      Is that the way your father would've

 9        treated his soldiers?

10              A      Absolutely not.

11                     MR. TUCKER:        I'm going to make

12             this Number 4.

13                           (Whereupon, Plaintiff's Exhibit

14                           Number 4 was marked for

15                           identification.)

16       BY MR. TUCKER:

17              Q      This is an Operations Division Bulletin

18        Number 5.
19                     Are you familiar with that document?

20              A      Yeah.     I seen it sitting on the table

21        at work.

22              Q      All right.

23              A      Now, they don't train you with this,

24        they just put it on the table and expect you to

25        adhere to it and train yourself.


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 1              Q      Okay.      So you received no instruction
 2        on this other than just seeing a copy of it?
 3              A      Yeah.     This is a bulletin.     Most the
 4        time they come out with a certain things, they

 5        just get the bulletin and set it on the table
 6        and you got to read it and try to interpret it
 7

 8              Q      Well --

 9              A      -- the best way you can.
10              Q      Did you ever -- are you familiar with
11        what that change said?
12              A      The verbal request of moving protection
13        by calling them and letting you know that you
14        are going to fix something, and
15              Q      Right.
16              A      -- you know ...
17              Q      Was it your understanding that that
18        bulletin, as it applied to the carmen, could be
19        used instead of the blue flag involved if there
20        were no blue flags available?
21              A      To me, that's what it's saying.
22              Q      Was that your understanding of           is
23        that essentially what Fowler and Taylor thought,
24        also?
25              A      Yes.     When they went over to Mason


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 1        yard.
 2              Q      All right.        Now, at Mason yard -- what

 3        is Mason yard?          It's an intermodal yard?

 4              A      Yeah,    intermodal yard.

 5              Q      Okay.      Does it have blue flags on it?
 6              A      Yeah.      It -- I think it had blue flags

 7        on certain tracks.           But most the time, you have

 8        to have portable blue flags because they don't
 9        have to work blue flag protection over there.
10        So a lot of times we have to bring our own in
11        order to put them up.
12              Q      All right.
13              A      But they do have the Rail Links over
14        there, which is the people that inspects most of
15        them trains over there.
16              Q      All right.        If a train is put
17        together -- I mean, do you put the train

18        together out of different tracks before you do
19        the air brake test?
20              A      Yeah.     Now, we, as the mechanical
21        department in Dillard yard, we don't do the air
22        brake test and stuff over there.           We don't get
23        to inspect our own trains over there.
24              Q      All right.
25              A      But we have go fix them if they tear


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 1        up, though.
 2              Q      Okay.     That's where I'm going.
 3                     So your trains, when you inspect them,
 4        you can inspect them in different cuts before
 5        they're put together?
 6              A      You can.
 7              Q      Okay.     Now, in Mason yard -- I'm going
 8        to give you this hypothetical.          Assume this.
 9                     That a train had been put together --
10              A      Uh-huh.
11              Q      -- and there was a problem on the last
12        car
13              A      Uh-huh.
14              Q      -- on the train, and that the train
15        extended way out of Mason yard, i t ' l l go up the
16        road a mile or so, right?
17              A      Yeah.     It could be 2 miles long.
18              Q      Okay.     And there's a Google overhead,
19        Exhibit 5.
20              A      Yeah.
21                          (Whereupon, Plaintiff's Exhibit
22                         Number 5 was marked for
23                         identification. )
24      BY MR. TUCKER:
25              Q      Okay.     You recognize that as Mason


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 1        yard?

 2              A      Yeah.

 3              Q      As it existed back when all this

 4        happened?

 5              A      Back then.

 6              Q      Correct?

 7              A      Yeah.

 8              Q      And that's different now, though,

 9        right?

10              A      Yeah.      It's a lot different now.

11              Q      Okay.     When -- do you remember what

12        date on which it occurred?

13              A      No,    I don't remember, exactly, the

14        date.

15              Q      Okay.     About November 14, 2018?

16              A      Yeah.      That sounds about right.

17              Q      They used the -- they followed the

18        Exhibit 4 guidelines about getting movement

19        protection?

20              A      Yes.

21              Q      All right.        They had not been given

22        portable blue flags?

23              A      No.

24              Q      All right.        And they did it according

25        to the movement protection rule where they got


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 1        the engineer
 2              A      Yeah.

 3              Q      -- and they followed those rules?

 4                     Were you aware and did you know, of

 5        your own knowledge, that the other carmen had

 6        done the exact same thing?
 7              A      Of course.

 8              Q      All right.        But did any of them get in

 9        trouble?

10              A      Nope.
11              Q      Is that because Ware was trying to

12        retaliate against Lewis and --

13              A      He said something out against them.          It
14        was       it was         that's second shift.    It's

15        different.

16              Q      Were you aware that they overhead Lewis
17        Ware telling the transportation department
18        supervisor that it was Diane Barnett's idea that

19        she       they had set them up?

20              A      Outside the bathroom, yeah.        Him and
21        that supervisor standing out there.
22              Q      All right.       Does that shock you?

23              A      No, no.
24              Q      Sounds like just what they would do?

25              A       (Nonverbal response.)


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 1              Q      You've got answer "yes" or "no."

 2              A      Yes.

 3              Q      Okay.      So they were treated different

 4         from everybody else?

 5              A      Yes.

 6              Q      At Mason yard, it could've been several

 7        ways that could've been handled,             I guess.    But

 8        one of the ways that it could be handled would

 9        be that they could cut -- if the problem's with

10        the last car

11              A       Just cut it off.

12              Q      -- you could cut off,        pull the train

13        out of the track

14              A      Um-hmm.

15              Q      -- blue flag it,         fix it in probably no

16        time, take the flag down,             shove the train back

17        down, couple up, do whatever you're required to

18        do to make it ready, and then it could've left,

19        right?

20              A      Yes.     You could do it that way.         That's

21         logical.      But to them --

22              Q      That would take

23              A      That would be --

24              Q      -- a little time?

25              A      That would take a little time,         so they


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 1        want it done.
 2              Q      All right.        Or you could have kept the
 3        train intact, put the blue flag up, walked or
 4        got a ride around to a road somewhere and walked
 5        into the woods to find the engine, put a
 6        portable blue flag and derail up in front of the
 7        engine and gone in the engine and blue flag the
 8        throttle, right?
 9              A      Um-hmm.
10              Q      Is that right?           You got to say "yes" or
11        "no."
12              A      Yes.
13              Q      Okay.     Now, that would take them a real
14        long time, right?
15              A      Yes.
16              Q      Or you could hope people would follow
17            that management would hope they'd follow the
18        operation division bulletin as an excuse not to
19        do that and you could get away with it until you
20        decided you wanted to retaliate?
21              A      Yeah.
22              Q      Is that what happened to Fowler and
23        Taylor?
24              A      Yes, sir.
25              Q      Okay.     Have you ever heard of putting a


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 1        wedge under a door to move the car to a repair

 2        facility, a boxcar door?

 3               A      Putting a wedge under a door?

 4               Q       In a door to keep -- yeah.

 5               A      Are you talking about so the car can

 6        go?
 7               Q      Yeah.

 8               A      Yeah.

 9               Q       Is that proper?

10               A      More than likely, no, it's not.

11               Q      Okay.

12               A      They do it most of the time so they can

13         just get the train out.

14               Q      All right.       Did you ever hear Lewis

15        say,       "If it rolled in, it can roll out"?

16               A      Absolutely.

17               Q      Did Lewis or any other supervisor ever

18        tell you about a bad order count or what their

19        bad order count or something?

20               A      Bad order count, delay time, they

21        constantly bombard you about that.            Yeah.

22               Q      Mr. Daniels, I appreciate you taking

23        the time to answer my questions.

24                      Have you got anything else or is that

25


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 1              A      No, sir.

 2              Q      Okay.

 3                     MR. TUCKER:        Thank you, ma'am.   I

 4             appreciate it.         That's all we got.

 5                     THE WITNESS:         Thank you.

 6                          (SIGNATURE WAIVED.)

 7                          (Whereupon, the sworn statement of

 8                          Steven Daniels was concluded at

 9                          approximately 10:58 a.m.)

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 1                             C E R T I F I C A T E

 2

 3       STATE OF SOUTH CAROLINA:

 4       DORCHESTER COUNTY :

 5

 6           I, Naomi McCracken, Court Reporter and Notary

 7       Public in and for the above county and state, do

 8       hereby certify that the foregoing testimony was

 9       taken before me at the time and place

10       herein-before set forth; that the witness was by

11      me first duly sworn to testify to the truth, the

12       whole truth, and nothing but the truth,           that

13       thereupon the foregoing testimony was later

14       reduced by computer transcription; and I certify

15       that this is a true and correct transcript of my

16       stenographic notes so taken.

17           I further certify that I am not of counsel to

18      either party, nor interested in the event of

19      this cause.

20
21
22                                  Naomi McCracken

23                                  Court Reporter

24                                  Notary Public

25                                  Beaufort, South Carolina


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